                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


 UNITED STATES OF AMERICA,

      Plaintiff,

 v.                                           Case No.: 8:21-cv-188-MSS-AEP


 WECARE PHARMACY, LLC;                           FILED TEMPORARILY
 QINGPING ZHANG, PHARMD, MS;                     UNDER SEAL
 LI YANG; and L&Y HOLDINGS,
 LLC.


      Defendants.

 __________________________________/

                    TEMPORARY RESTAINING ORDER

        The United States has filed an ex parte motion for a temporary restraining

order to issue without notice to the adverse party and a preliminary injunction.

(Dkt. 4) In support of its motion, the United States has submitted a

memorandum of law, as well as supporting affidavits and exhibits. Upon

consideration of the motion and supporting documents under the standards in

Federal Rule of Civil Procedure 65(b), Local Rule 4.05, and the Controlled

Substances Act, 21 U.S.C. §§ 843(f) and 882(a), the Court FINDS:
       1.     The United States has demonstrated a substantial likelihood of

success on the merits of its claims that Defendants WeCare Pharmacy, LLC;

Qingping Zhang, PharmD, MS; Li Yang; and L&Y Holdings, LLC have

violated the Controlled Substances Act (“CSA”), 21 U.S.C. §§ 829, 841(a)(l),

842(a)(l) and 856(a)(1) and 856(a)(2).

       2.     The United States also has demonstrated that advance notice to

Defendants will result in immediate and irreparable injury, loss, or damage,

namely: (a) harm to Defendants’ customers from Defendants’ continued

unlawful distribution and dispensation of controlled substances; and (b) the

potential destruction of evidence related to Defendants’ CSA violations.

       3.     Injunctive relief to prevent further CSA violations by Defendants

and to protect the public is authorized by 21 U.S.C. §§ 843(f) and 882(a).

       4.     Defendants will continue to violate the CSA unless a temporary

restraining order is issued.

       5.     The conditions for granting a temporary restraining order under

Federal Rule of Civil Procedure 65(b) and 21 U.S.C. §§ 843(f) and 882(a) are

therefore met.

       Based on these findings, it is hereby ORDERED that:

      A.      The United States’ ex parte Motion for a Temporary Restraining

Order and Preliminary Injunction, (Dkt. 4), is GRANTED without notice to



                                         2
Defendants. Pursuant to Federal Rule of Civil Procedure 65(b)(2), this

Temporary Restraining Order was issued on January 26, 2021, at

approximately 12:30 PM. This Temporary Restraining Order shall expire on

February 9, 2021, unless it is extended by the Court for good cause shown or

Defendants consent to a longer extension.

      B.     The United States shall promptly attempt to provide notice of this

action and this Order to Defendants on the same date when the United States

executes search warrants at the Pharmacy.

      C.     Defendants, their officers, agents, servants, employees, and

attorneys, and any and all other persons who are in active concert or

participation with them who receive actual notice of this Order are temporarily

restrained and enjoined from directly or indirectly distributing, dispensing, or

possessing with the intent to distribute or dispense, any controlled substances as

defined and identified in 21 U.S.C. §§ 802(6) and 812, and 21 C.F.R. §§ 1308.11-

1308.15

      D.     All controlled substances in the possession, custody, or control of

Defendants shall be sealed immediately by agents or investigators of the U.S.

Drug Enforcement Administration (“DEA”) upon service of this Temporary

Restraining Order.




                                        3
      E.     Defendants are temporarily restrained and enjoined from altering,

deleting, destroying, mutilating, or transferring any record within their

possession, custody, or control related to the distribution or dispensation of

controlled substances.

      F.     Pursuant to Rule 65(c) of the Federal Rules of Civil Procedure,

Plaintiff United States of America shall not be required to post security for the

instant action.

      G.     The parties shall take notice that this matter shall come before the

Court for a preliminary injunction hearing on the 9th day of February, 2021, at

9:30 a.m, in accordance with Plaintiff’s complaint and motion for injunctive

relief. Defendants may request an earlier hearing on the terms of this temporary

restraining order in accordance with the terms of Federal Civil Procedure 65.

DONE AND ORDERED in Tampa, Florida this 26th day of January 2021.




                                       4
